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Entered: July 8, 2022
Signed: July 8, 2022

SO ORDERED




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF MARYLAND
                                         at Baltimore
                                In re:    Case No.: 18−13335 − DER         Chapter: 13

Tracey Maritena Roney
Debtor

                        ORDER DISCHARGING TRUSTEE AND CLOSING CASE
    It appearing to the Court that the Trustee in the above−entitled case has performed all duties required of him/her
in the administration of said estate;

   ORDERED, that the said estate be and it hereby is closed; that the Trustee be and he/she hereby is discharged
from and relieved of his/her trust.


cc:    Case Trustee − Rebecca A. Herr

                                                   End of Order
odsctr − LaurieArter
